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IN THE UNITED STATES DISTRICT COURT Map

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FOR THE SOUTHERN DISTRICT OF ILLINOIS 2, &
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UNITED STATES OF AMERICA, ) sr (POREn,
MS | O,
) * Kin
Plaintiff, ) “s
)
vs. ) CASE NO. 07-30116 GPM
BRIAN MICHAEL GREEN, )
)
Defendant. )
STIPULATION OF FACTS

THE PARTIES HEREBY STIPULATE TO THE FOLLOWING FACTS:

If this case were to proceed to trial, the evidence would show that the defendant, who was 34
years of age at the time of the offense set forth in Count 3 of the Superseding Indictment, admitted
to law enforcement officers that he used the internet to communicate by E-mail with a minor, who he
knew to be over the age of 13 and under the age of 16 on the date set forth in Count 3. The
particulars of the communication between the defendant and the minor by use of the internet is set
out in Count 3. The internet is a facility of interstate commerce and the communications made by the
defendant with the minor were made in interstate commerce.

At approximately 6:00 p.m. on July 22, 2008, the defendant traveled from Missouri to Illinois
and met with the minor. The defendant was arrested at St. Ellen Mine Park, located in O’Fallon,
within the Southern District of Illinois, that same day, at 10:00 p.m. He was parked in the park with
the minor in his pickup truck when arrested by the police. The parties stipulate that the internet
communication, coupled with the circumstances of the defendant’s arrest would be sufficient to

establish, beyond a reasonable doubt, that the defendant’s communication with the minor as set forth
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in Count 3 constituted an attempt to persuade, induce and entice the minor to engage in sexual
activity for which the defendant could be charged with a criminal offense, Aggravated Criminal
Sexual Abuse, in violation of Illinois Law, as is fully set forth in the Superseding Indictment.

This stipulation of facts is intended only to provide the court with a sufficient foundation to
accept the defendant’s guilty plea and is not an exhaustive account of the defendant’s involvement in

or knowledge regarding this criminal activity.

SO STIPULATED.

A. COURTNEY COX
United States Attorney

BRIAN MIEAKAL GREEN, MICHAEL C. CARR
Defendant Assistant United States Attorney
STEPHEN WILLIAMS,

Attorney for Defendant

Date: 3/rs fos Dat: 3 ] 23 | Oo?

